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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


RAYMOND R. SCHWAB AND
AMELIA D. SCHWAB,

        Plaintiffs,
                                                                Case No. 18-2488-DDC-GEB
v.

KIM YOXELL, et al.,

        Defendants.



                                 MEMORANDUM AND ORDER

        This matter is before the court on the court’s Order directing plaintiffs to serve

defendants Phyllis Gilmore, Theresa Freed, Kendra Baker, Angie Suther, and Kim Yoxell in

their individual capacities in accordance with the Federal Rules of Civil Procedure (or the

Kansas Rules of Civil Procedure) by October 25, 2019. Doc. 129 at 27.

        I.      Background

        Plaintiffs filed the Complaint in this case on August 27, 2018 (Doc. 1). In its September

25, 2019 Memorandum and Order ruling various motions, the court gave plaintiffs until October

25, 2019 to serve defendants Phyllis Gilmore, Theresa Freed, Kendra Baker, Angie Suther, and

Kim Yoxell in their individual capacities. Doc. 129 at 27.1 The court noted “[f]ailing to do so

likely will cause their dismissal.” Id. Now, more than 158 days have passed and plaintiffs still




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        These defendants did not move to dismiss based on insufficient service but explained in a motion
to dismiss on other grounds that individual service had not been accomplished and made clear they did
not “waive [their] right to personal service.” Doc. 55 at 3.
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haven’t served Ms. Gilmore, Ms. Freed, Ms. Baker, Ms. Suther, and Ms. Yoxell in their

individual capacities.

       II.     Legal Standard

       Federal Rule of Civil Procedure 4(e) provides that a party may serve an individual with

the summons and complaint by: (1) delivery to the individual personally, (2) delivery at the

individual’s dwelling or usual place of abode to a person of “suitable age and discretion” who

resides there, (3) delivery to the individual’s authorized agent, or (4) following state law

governing service. See Fed. R. Civ. P. 4(e).

       Federal Rule of Civil Procedure 4(m) provides:

       If a defendant is not served within 90 days after the complaint is filed, the court—
       on motion or on its own after notice to the plaintiff—must dismiss the action
       without prejudice against that defendant or order that service be made within a
       specified time. But if the plaintiff shows good cause for the failure, the court must
       extend the time for service for an appropriate period.

While good cause is not defined in the rule, “[t]he legislative history of the Rule cites a

defendant’s evasion of service as the sole example of ‘good cause.’” Cox v. Sandia Corp., 941

F.2d 1124, 1125 (10th Cir. 1991).

       III.    Analysis

       Following the court’s September 2019 Order, new summonses were issued for Ms.

Gilmore, Ms. Yoxell, and Ms. Suther on October 15, 2019. No new summonses were issued for

Ms. Freed or Ms. Baker. And, to date, the docket reflects that plaintiffs have not served Ms.

Gilmore, Ms. Freed, Ms. Baker, Ms. Suther, and Ms. Yoxell in their individual capacities with

summons and the Complaint as required by Federal Rule of Civil Procedure 4.

       Under Federal Rule of Civil Procedure 41(b) and D. Kan. Rule 41.1, the court may

dismiss an action where a party fails to prosecute or comply with the court’s orders and rules.


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Plaintiffs have failed to serve these defendants by the time prescribed in the court’s September

25, 2019 Order. Doc. 129 at 27. As Rule 4(m) directs, the court notified plaintiffs these

defendants would be dismissed if service was not made. Id. (noting the time for service under

Rule 4 already had expired and granting plaintiffs additional time to serve these defendants).

Plaintiffs also have failed to prosecute their action against Ms. Gilmore, Ms. Freed, Ms. Baker,

Ms. Suther, and Ms. Yoxell in their individual capacities. The court thus dismisses Phyllis

Gilmore, Theresa Freed, Kendra Baker, Angie Suther, and Kim Yoxell in their individual

capacities without prejudice. See Fed. R. Civ. P. 4(m) (directing the court to dismiss without

prejudice where a defendant is not served).

        IT IS THEREFORE ORDRED THAT defendants Phyllis Gilmore, Theresa Freed,

Kendra Baker, Angie Suther, and Kim Yoxell in their individual capacities are dismissed without

prejudice under Fed. R. Civ. P. 41(b) and D. Kan. Rule 41.1 because plaintiffs failed to prosecute

their claims against them.

        IT IS FURTHER ORDERD THAT the Clerk of the Court is directed to terminate

Phyllis Gilmore, Theresa Freed, Kendra Baker, Angie Suther, and Kim Yoxell as defendants in

this action.

        IT IS SO ORDERED.

        Dated this 1st day of April, 2020, at Kansas City, Kansas.

                                                     s/ Daniel D. Crabtree ____
                                                     Daniel D. Crabtree
                                                     United States District Judge




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